Case 1-19-42119-ess Doc 20 Filed 06/03/19 Entered 06/03/19 13:33:11

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

AFFIDAVIT OF SERVICE

 

In Re: Case No.: 19-42119-ess
(Chapter 7)
Veronica White
Assigned to:
Hon. Elizabeth S. Stong
Debtor Bankruptcy Judge
STATE OF NEW YORK )
COUNTY OF ERIE ) SS:
CITY OF BUFFALO )

Ashley Nemec, being duly sworn, deposes and says that he/she is over eighteen years of age and resides
in the Town of Gasport, New York.

That on June 3, 2019, deponent served the within Affirmation in Opposition to Loss Mitigation Request
by depositing a true copy thereof, properly enclosed in a securely closed and duly post paid wrapper in a

depository regularly maintained by the United States Postal Service in the City of Buffalo, New York, directed as

follows:
Veronica White Debtor Robert J. Musso Chapter 7 Trustee
24141 148th Drive 26 Court Street, Suite 2211
Rosedale, NY 11422 Brooklyn, NY 11242
Michael L Previto, Esq. Debtor Attorney United States Trustee U.S. Trustee
535 Broadhollow Road 201 Varick Street, Suite 1006
Melville, NY 11747 New York, NY 10014

Sworn to before me this the 3rd day
Of June, 2019

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Cab Lee duo
Gabrielle E. Rude

Notary Public GABRIELLE E. RUDE

NOTARY PUBLIC, STATE OF NEW YORK
QUALIFIED IN ERIE GOUNTY
My Gommilssion Expires July 25, 20\4
